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EXHIBIT 8

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Waldman, Hannah

From: Justin. Cohen@hklaw.com

Sent: Wednesday, September 18, 2024 12:14 PM

To: Geller, Joshua

Ce: Waldman, Hannah; Moss, Aaron; jying@morrisnichols.com; Cindy.Gierhart@hklaw.com;

farnan@rlf.com; Dina.McKenney@hklaw.com; Christine Haynes - Richards, Layton & Finger
(haynes@rif.com); Berk, Jillian; Amanda.Seward@hklaw.com
Subject: RE: HomeVestors/WBD

Josh — here is an updated table of our designation of witnesses for WBD’s 30(b)(6) topics, including the interrogatory
numbers that witnesses will be designated to discuss on behalf of HomeVestors:

5, 30 (HVA’s relationship with
Calise Partners d/b/a Imaginuity}

Larry Goodman

6, 29, 30 (contracts with

Anthony Lowenberg Imaginuity), 33-34

7-15, 19-24, 31-32

Charlie Cali
arlie Calise Interrogatory Nos.

1,2,3,4,5, and 8

26, 30 (payments with Imaginuity},

Josh Gorena and 35

16-18, 25, 27, 28, 36-37
Megan Hoyt

Interrogatory Nos. 11, 12, and 18

Rob Sturrock Interrogatory Nos. 6 and 7

Notably, HomeVestors has agreed to designate a representative on additional interrogatory responses.

Regarding Josh Gorena on Oct. 1, please let us know if you are OK starting later (say 11 AM CT) or starting in the
afternoon. | want to make sure that | have adequate time to travel back from Delaware after our Sep. 30 hearing.

Regarding David Hicks on Oct. 15 and Bonnie DePasse on Oct. 16, please let us know if you are OK starting those
depositions at 9:30 CT.

Unfortunately, we have been able to reach Jo Rivera for deposition dates. We are still trying. If WBD is open to dropping
this deposition, we can agree not to cail Jo Rivera at trial.

There are still a few discovery items that we are waiting for updates from WBD on, including whether WBD will search
for and produce the title/trademark search reports for the following:

e Ugliest House in America: Summer Road Trip
e Ugliest House in America: Ugly in Paradise
« UGLY HOUSES (Ser. No. 85305659)

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e AMERICA’S UGLIEST HOMES (Ser. Nos. 85798548 and 85798551)

Regards,

~justin

Justin S. Cohen He/Him | Holland & Knight
Direct 214.969.1211 | Cell 214.605.1993

Add to address book | View professional biography

From: Cohen, Justin S (DAL - X61211)

Sent: Tuesday, September 17, 2024 3:54 PM

To: ‘Geller, Joshua’ <jgeller@greenbergglusker.com>

Cc: Waldman, Hannah <hwaldman@greenbergglusker.com>; Moss, Aaron <amoss@greenbergglusker.com>; Ying,
Jennifer <jying@morrisnichols.com>; Gierhart, Cindy A (WAS - X75416) <Cindy.Gierhart@hklaw.com>; farnan@rif.com;
McKenney, Dina (DFW - X61757) <Dina.McKenney@hklaw.com>; Christine Haynes - Richards, Layton & Finger
(haynes@rlf.com) <haynes@rlf.com>; Berk, Jillian <jberk@greenbergglusker.com>; Seward, Amanda C (DAL - X61615}
<Amanda.Seward@hklaw.com>

Subject: RE: HomeVestors/WBD

Josh — regarding Corey Chapman’s emails, there does not seem to be any reason why WBD is refusing to produce the
few emails that hit on the search terms. Refusing to do so seems quite strange, particularly given the fact that WBD
produced emails that were hits on our search terms for the custodians that WBD identified. But, based on WBD’s
refusal, we are at impasse on this issue.

Regarding the popularity of shows on HGTV, your question of “why” is disingenuous given W8D's recent interrogatory
responses and the number of discussions we’ve had on this issue. In our view, this issue is already going to the court,
where we will explain that in terms of providing information to apportion WBD’s revenue from its SEC filings, WBD is
only producing viewership and popularity data on a daily and weekly basis, which makes it incredibly difficult {if not
impossible) to summarize the data and compare the popularity of HGTV’s shows, We know that WBD summarizes this
type of data into monthly or quarterly reports. Accordingly, we are at impasse and will address this issue with the Court
during our hearing on Sep. 30.

Similarly, we note that we are at impasse on additional monitoring reports.

Finally, we note that we are at impasse on the ethics training. I'd also like to point out that WBD has not produced any
documents that are responsive to RFP 72. HVA found and produced the WBD and Discovery ethics policies that touch on
trademarks, and confirmed via Ms. Adiam’s deposition that there are IP trainings. WBD has objected in such a way to
ensure that it produces nothing responsive, even though such documents are relevant, not privileged, and would not be
burdensome to gather and produce. Accordingly, we are also at impasse on RFP 72.

We will be asking for another hearing on these issues. If WBD decides to change course, we remain open and hopeful
that we can resolve these disputes without another discovery hearing.

Regards,

~Justin

Justin S. Cohen He/Him | Holland & Knight
Direct 214.969.1211 | Cell 214.605.1993

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